                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                 EASTERN DMSION
                                  No. 4:07-CR-62-D


UNITED STATES OF AMERICA                      )
                                              )
                                              )
                   v.                         )            'ORDER
                                              )
MITCHELL SWAIN,                               )
                                              )
                          Defendant           )


       On May 16, 2019, Mitchell Swain ("Swain") moved pro se for reliefunder the First Step Act

("First Step Act''), Pub. L. No. 115-391, § 404, 132 Stat. 5194, 5222 [D.E. 128]. On December 4,

2020, Swain moved through counsel for relief under the First Step Act [D.E. 136]. On December

18, 2020, the government responded in opposition [D.E. 138]. On December 29, 2020, Swain

replied [D.E. 139]. On January 4, 2021, Swain requested home confinement under the Coronavirus,

Aid, Relief, and Economic Security Act("CARES Act"), Pub. L. No.116-136, § 12003(b)(2), 134

Stat. 286, 516 (2020) [D.E. 142]. As explained below, the court denies Swain's motions for

reduction of sentence and dismisses Swain's request for home confinement.

                                                  I.

       On May 5, 2008, pursuant to a written plea agreement, Swain pleaded guilty to conspiracy

to distribute and possess with intent to distribute more than 50 grams of cocaine base (crack) and a

quantity of cocaine. See [D.E. 44,45, 82]. On February 26, 2009, the court held Swain's sentencing

hearing. See [D.E. 74, 78, 83]. At the hearing, the court adopted_the facts set forth in the

Presentence Investigation Report ("PSR'') and ruled on Swain's objections to the PSR. See Fed. R.

Crim.P. 32(i)(3)(A}-{B); Sent. Tr. [D.E. 83] 5-127. ThecourtcalculatedSwain'stotaloffenselevel
to be 39, his criminal history category to be III, and his advisory guideline range to be 324 to 405

months' imprisonment. See Sent. Tr. [D.E. 83] 127. After thoroughly considering all relevant

factors under 18 U.S.C. § 3553(a), thecourtsentencedSwainto 324months' imprisonment. See id.

at 136-42. The court also announced that it would impose the same sentence as an alternative

variant sentence if it had miscalculated the advisory guideline range. See id. at 140-41. Swain

appealed. On February 25, 2010, the United States Court ofAppeals for the Fourth Circuit affirmed

this court's judgment. See United States v. Swmn, 367 F. App'x 417, 417-18 (4th Cir. 2010) (per

curiam) (unpublished).

       On April 29, 2011, Swain moved to vacate and set aside his 324-month sentence under 28

U.S.C. § 2255. See [D.E. 88]. On June 1, 2011, Swain amended his section 2255 motion. See [D.E.

91 ]. On July 19, 2011, the United States moved to dismiss Swain's section 2255 motion. See [D.E.

94]. On August 26, 2011, Swain responded in opposition. See [D.E. 99]. On May 9, 2013, the

court granted the government's motion to dismiss and denied a certificate ofappealability. See [D.E.

102]. Swain appealed. On January 23, 2014, the Fourth Circuit dismissed Swain's appeal. See

United States v. Swmn, 550 F. App'x 172, 173 (4th Cir. 2014) (percuriam) (unpublished).

       On December 7, 2015, Swainmovedforasentencereduction under 18 U.S.C. § 3582(c)(2),

U.S.S.G. § lBl.10, and Amendment 782. See [D.E. 117]. The court calculated Swain's new

advisory guideline range to be 262 to 327 months' imprisonment. See [D.E. 126] 1. Swain

requested a 262-month sentence. See id. On July 20, 2018, the court denied Swain's motion.

See id. at2-3.

       On August 3, 2010, Congress enacted the Fair Sentencing Act of 2010 ("Fair Sentencing

Act''),Pub. L. No.111-220, 124 Stat 2371, 2372(codifiedasamendedat21 U.S.C. § 801, et~).

Section 2 of the Fair Sentencing Act reduced statutory penalties by increasing the drug quantities

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 necessary to trigger certain statutory minimums and maximums. For example, the amount ofcocaine

 base (crack) necessary to trigger a 5 to 40 year sentence increased from 5 to 28 grams. Likewise, the

 amount of cocaine base (crack) necessary to trigger a 10 year to life sentence increased from 50

 grams to 280 grams. See id., § 2, 124 Stat at 2372.

         On December 21, 2018, the First Step Act went into effect. See First Step Act, 132 Stat. at

 5249. The First Step Act makes the Fair Sentencing Act's reductions in mandatory minimum

 sentences apply retroactively to defendants who committed their "covered offense" of conviction

 before August 3, 2010. See id. § 404(a), 132 Stat. at 5222. Section 404(a) defines "covered offense"

 as "a violation of a Federal criminal statute, the statutory penalties for which were modified by

 section 2 or 3 ofthe Fair Sentencing Act ... that was committed before August 3, 2010." Id. Under

 the First Step Act, a "court that imposed a sentence for a covered offense may ... impose a reduced

 sentence as if sections 2 and 3 of the Fair Sentencing Act of 2010 ... were in effect at the time the

 covered offense was committed." Id. § 404(b), 132 Stat. at 5222. A court that modifies a sentence

. under the First Step Act does so under 18 U.S.C. § 3582(c)(l)(B), which allows a court to "modify

 an imposed term of imprisonment to the extent otherwise expressly permitted by statute." 18 U.S.C.

 § 3582(c)(l)(B); seeUnitedStatesv. Woodson,962F.3d812, 815-17 (4th Cir. 2020); United.States

 v. Chambers, 956 F.3d 667, 671 (4th Cir. 2020); United States v. Wirsing" 943 F.3d 175, 183 (4th

 Cir. 2019); United States v.Alexander, 951 F.3d 706, 708 (6th Cir. 2019). If a defendant qualifies,

 courts may consider a motion for a reduced sentence only ifthe defendant did not previously receive

 a reduction pursuant to the Fair Sentencing Act and did not have a motion under the First Step Act

 denied "after a complete review of the motion on the merits." First Step Act § 404(c), 132 Stat. at

 5222.



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        Under the First Step Act, the district court adjusts the sentencing guideline calculations "as

if the current lower drug offense sentences were in effect at the time of the commission of the

offense." United States v. Cuny, 792 F. App'x 267,268 (4th Cir. 2020) (per curiam) (unpublished)

(quotation omitted); see Chambers, 956 F.3d at 671-72. "Nothing in ... section [404(c) ofthe First

Step Act]," however, "shall be construed to require a court to reduce any sentence pursuant to this

section." First Step Act § 404(c), 132 Stat. at 5222; see, e.g.. United States v. Gravatt, 953 F.3d 258,

261 (4th Cir. 2020); Wirsing. 943 F.3d at 184-86; United States v. Barnes, No. 3:94cr80 (DJN),

2020 WI.. 1281235, at *3 (E.D. Va. Mar. 17, 2020) (unpublished); United States v. La~ No.

1:02CR00011-012, 2019 WI.. 2550327, at *1-4 (W.D. Va. June 20, 2019) (unpublished).

        The court assumes without deciding that Swain's new advisory guideline range is 210 to 262

months' imprisonment based on a total offense level 35 and a criminal history category m. See

[D.E. 136] 4; cf. [D.E. 140] 2. The court has discretion to reduce Swain's sentence. See Gravatt,

953 F.3d at 262-64; Wirsing, 943 F.3d at 184-86; Barnes, 2020 WI.. 1281235, at *3; La~ 2019

WL 2550327, at"' 1-4. The court has completely reviewed the entire record, the parties' arguments,

the new advisory guideline range, and all relevant factors under 18 U.S.C. § 3553(a). See Chavez-

Mesa v. United States, 138 S. Ct. 1959, 1966-68 (2018); Chambers, 956 F.3d at 671-75; United

States v. May, 783 F. App'x 309,310 (4th Cir. 2019) (per curiam) (unpublished). As for Swain's

offense conduct, Swain engaged in prolonged drug dealing between March2004 and June 2007. See

Sent. Tr. [D.E. 83] 7-109, 123-27, 136-40; PSR fl 7-12. Swain conspired with others to distribute

a very large amount of cocaine base (crack), as well as some cocaine and marijuana. Swain also

possessed a stolen firearm in :furtherance ofhis drug trafficking activities. See PSR ,r 11. Moreover,

on June 27, 2007, when officers attempted to arrest Swain as part of a buy-bust operation, Swain led

them on a high-speed chase at about 2:30 p.m. amidst medium traffic during which he drove at

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speeds over 80 miles per hour, used his vehicle as a weapon, discarded some of the cocaine out the

window ofhis van, collided with a police vehicle, refused to comply with officers' orders, and forced

officers to wrestle him from his van and tase him to get him to comply. See Sent. Tr. [D.E. 83]

14-26; PSR ,r 7. Swain is a violent recidivist with convictions for larceny (two counts), injury to

personal property (three counts), simple assault, resist or obstruct a public officer, driving while

license revoked, resisting a public officer (two counts), possession with intent to sell and deliver

cocaine, maintaining a vehicle, dwelling, or place for controlled substances, and possession of a

controlled substance on prison or jail premises. See PSR ,r,r 14-24. Swain also has performed

poorly on supervision and has a spotty work history. See id. ,r,r 14-18, 39--42. Swain has taken

some positive steps while incarcerated on his federal sentence, but has been sanctioned for

possessing unauthorized items, failing to follow safety regulations in 2009, using marijuana and

suboxone in 2016, and extorting/blackmail/protecting in 2019. See [D.E. 140] 2; [D.E. 136] 6-7;

[D.E.136-3]; cf. Pq,pervUnited States, 562 U.S. 476,491 (2011); Chambers, 956F.3dat671-75.

In light of Swain's terrible criminal conduct, serious criminal record, poor performance on

supervision, misconduct while incarcerated, the need to promote respect for the law, the need to deter

others, and the need to incapacitate Swain, the court declines to reduce Swain's sentence. See, e.g.,

18U.S.C. § 3553(a); Chavez-Mes~ 138 S. Ct. at 1966-68; Chambers, 956F.3dat671-75; Barnes,

2020WL 1281235, at *3; La!tm, 2019WL2550327, at *1--4. In doing so, the court rejects Swain's

argument that his sentence is unfair in light of the sentence that Judge Terrence Boyle imposed on

one of his co-conspirators Jerrold Heckstall. Heckstall :immediately, extensively, and actively

cooperated and received a motion under U.S.S.G. § 5Kl.1. · Swain did not They are not similarly

situated.

        In reaching this decision, the court has considered the entire record, the parties' arguments,

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andthesection3553(a)factors. However,evenifthecourtmiscalculatedthenewadvisoryguideline

range, it still would not reduce Swain's sentence in light of the entire record and the section 3553(a)

factors. See 18 U.S.C. § 3553(a); United States v. Gomez-Jimenez, 750 F.3d 370, 382-86 (4th Cir.

2014); United States v. Hargrove, 701 F.3d 156, 161-65 (4th Cir. 2012).

       As for Swain's request for home confinement, Swain moves under the CARES Act. See

[D.E. 142] 1. The CARES Act does not provide this court with the authority to grant home

confinement. See United States v. Brummett, No. 20-5626, 2020 WL 5525871, at *2 (6th Cir. Aug.

19, 2020) (unpublished) ("[T]he authority to grant home confinement remains solely with the

Attorney General and the BOP.''); United States v. McCoy, No. 3:19-CR-35-KDB-DCK, 2020 WL

5535020, at *1 (W.D.N.C. Sept. 15, 2020) (unpublished); United States v. Gray, No.

4:12-CR-54-FL-l, 2020 WL 1943476, at *3 (E.D.N.C. Apr. 22, 2020) (unpublished). As such, the

court dismisses Swain's request for home confinement.

                                                  II.

       In sum, the court DENIES Swain's motions for reduction of sentence [D.E. 128, 136] and

DISMISSES Swain's request for home confinement [D.E. 142].

       SO ORDERED. This "-8 day of January 2021.



                                                           JSC.DEVERID
                                                           United States District Judge




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